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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
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United States of America                :      NOTICE OF APPEARANCE
                                               AND REQUEST FOR
                                        :      ELECTRONIC NOTIFICATION
           - v -
                                        :      23 MJ 58 (ZMF)

Elliot Resnick                          :

----------------------------------x

To:     Clerk of Court
        United States District Court
        For the District of Columibia


        The undersigned attorney respectfully requests the Clerk to

note his appearance in this case and to add him as a filing user

to whom Notices of Electronic Filing will be transmitted in this

case.




                                        Respectfully Submitted,



                                        /s/ Clay H. Kaminsky, Esq.
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TO:     Attorneys of Record
